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PLAINTIFF’S
January 21, 2020 ; EXHIBIT

Via e-mail to michael@moshea.com

Michael O’Shea
700 West Saint Clair Avenue, Suite 110
Cleveland, OH 44113

 

Re: Subpoena to Gary Brack, R.N. in Decosta v. Cuyahoga County, et al., N.D. Ohio Case No.
1:19-cv-1584

Dear Mr. O’Shea:
We represent Gary Brack, R.N. Kindly direct future correspondence regarding this matter to me.

We write regarding the subpoena you served on our client for deposition testimony in this case
on February 3, 2020 at 4:00 p.m. Please allow this correspondence to confirm that our client
received the subpoena and will appear as required.

We trust that the deposition will conclude by the close of business. If you anticipate that the
deposition will last beyond 5:00 p.m., kindly respond indicating how long you expect to take so
that we may plan accordingly for childcare and other personal obligations.

Very truly yours,

 

Ashlie C Case Sletvold

Ce: Kenneth M. Rock (krock@prosecutor.cuyahogacounty.us)

Marc W. Groedel (mgroedel@reminger.com)

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